                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION

 UNITED STATES OF AMERICA,                               )
                      Plaintiff,                         )
                                                         )
 vs.                                                     )     CASE NO. DNCW5:13MC2
                                                         )     (Financial Litigation Unit)
 MICHAEL GALIT,                                          )
                               Defendant,                )
                                                         )
 and                                                     )
                                                         )
 HICKORY ADMINISTRATIVE SCHOOL UNIT,                     )
 TA/HICKORY PUBLIC SCHOOLS,                              )
                      Garnishee.

              DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Continuing Garnishment filed in this case against the Defendant

is DISMISSED.

       SO ORDERED.
                                    Signed: January 25, 2021




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